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     STUART CHANDLER 088969
 1   Stuart R. Chandler, a Professional Corporation
     761 E. Locust, Suite 101
 2   Fresno, California 93720
     Phone (559) 431-7770
 3   Fax: (559) 431-7778
     stuart@chandlerlaw.com
 4
     Philip A. Downey (admitted pro hac vice)
 5   Pennsylvania Bar ID No. 81603
     The Downey Law Firm, LLC
 6   P.O. Box 1021
     Unionville, PA 19375
 7   Phone: (610) 324-2848
     Fax: (610) 813-4579
 8   downeyjustice@gmail.com
 9   Daniel P. Hunt, SBN 239412
     The Downey Law Firm, LLC
10   P.O. Box 3040
     South Pasadena, California 91031
11   Phone: (310) 254-4266
     Fax: (610) 813-4579
12
     Attorneys for Plaintiff and the proposed Class
13
     MICHELLE B. HEVERLY, Bar No. 178660
14   MARLENE S. MURACO, Bar No. 154240
15   LITTLER MENDELSON, P.C.
     50 W. San Fernando, 15th Floor
16   San Blanca, CA 95113.2303
     Telephone:     408.998.4150
17   Fax No.:       408.288.5686
18   mheverly@littler.com
     mmuraco@littler.com
19   Attorneys for Defendant
     FRESH EXPRESS, INC.
20
                               UNITED STATES DISTRICT COURT
21                           NORTHERN DISTRICT OF CALIFORNIA
                                     SAN JOSE DIVISION
22
     BLANCA LIDIA BONILLA, on behalf of                 )   Case No. 5:12-cv-00783-EJD
23
     herself and on behalf of all other similarly       )
24   situated individuals,                              )   Assigned to the Hon. Edward J. Davila
                          Plaintiff,                    )
25   v.                                                 )   JOINT STIPULATION TO DISMISS CASE
                                                        )
26                                                          Complaint Filed: 2/17/2012
     FRESH EXPRESS INCORPORATED, a                      )
27   Delaware corporation; and DOES 1-50,               )   Trial Date:      None Set
     inclusive,                                         )
28                      Defendants.                     )
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 1           Pursuant to Federal Rule of Civil Procedure Rule 41(a)(1)(A)(ii), it is hereby stipulated by
 2   and between Plaintiff BLANCA LIDIA BONILLA and Defendant FRESH EXPRESS
 3   INCORPORATED, through their attorneys of record, as follows:
 4           1)      On or about July 20, 2012, approximately five months after the filing of the instant
 5   action in federal court, Defendant represented to Plaintiff that Defendant is in fact a California
 6   entity, a corporation with its principle place of business in Salinas, California. For purposes of
 7   this stipulation, Plaintiff does not dispute that representation. The parties therefore agree that
 8   diversity jurisdiction does not exist under 28 U.S.C. Section 1332, and no other basis for federal
 9   jurisdiction has been alleged. As a result, the proper venue for Plaintiff’s claims lies in the
10   California Superior Court;
11           2)      Plaintiff will file an action in state court within 30 days of this Court’s order
12   dismissing this action in accordance with this stipulation;
13           3)      The parties request that the above-captioned action be dismissed without prejudice
14   in its entirety as to all claims and all parties;
15           4)      The parties agree that in the state court action to be filed by Plaintiff there will be a
16   tolling of claims from the date this action was filed (February 17, 2012) until the date Plaintiff
17   files in state court, as long as Plaintiff files the state court action within 30 days of the dismissal
18   of this case. That is, the claims made in this federal court action by Plaintiff on her behalf and on
19   behalf of others similarly situated, when alleged in the state court action to be filed by Plaintiff
20   individually and on behalf of others similarly situated, will be for claims arising up until February
21   17, 2012 and ongoing until resolution, and dating back to the times prior to that as allowed by the
22   applicable statutes of limitations depending on the bases of the various claims made. By this
23   agreement Defendant does not admit that any of the claims made by Plaintiff have merit or that
24   they were timely made when this action was filed on February 17, 2012. Defendant only agrees
25   to treat the state court action to be filed as though it had been filed on February 17, 2012.
26   ////
27   ////
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 1          Pursuant to Local Rule 5-1(i)(3), Daniel P. Hunt attests that concurrence in the filing of
 2   this document has been obtained from each of the other signatories to this document.
 3
 4                                               THE DOWNEY LAW FIRM, LLC

 5
 6
     Dated: October 11, 2012                            /s/ Daniel P. Hunt
 7                                               By: Daniel P. Hunt
                                                 Attorneys for Plaintiff and the proposed Class
 8
 9
                                                 LITTLER MENDELSON
10
11
     Dated: October 11, 2012                            /s/ Michelle B. Heverly
12
                                                 By: Michelle B. Heverly
13                                               Attorneys for Defendant FRESH EXPRESS INC.

14
15
16       IT IS SO ORDERED
17      The Clerk shall close this file.

18      Dated: October 15, 2012                    __________________________________
19                                                 United States District Judge
                                                   Edward J. Davila
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     5:12-cv-00783-EJD         JOINT STIPULATION TO DISMISS CASE
